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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES -- GENERAL

Case No.     CV 20-7551-JFW(JCx)                                         Date: September 22, 2021

Title:       Dan Raines -v- Enrich Financial, Inc., et al.

PRESENT:
             HONORABLE JOHN F. WALTER, UNITED STATES DISTRICT JUDGE

             Shannon Reilly                                  None Present
             Courtroom Deputy                                Court Reporter


ATTORNEYS PRESENT FOR PLAINTIFFS:                   ATTORNEYS PRESENT FOR DEFENDANTS:
              None                                                None

PROCEEDINGS (IN CHAMBERS):               ORDER TO SHOW CAUSE RE: PLAINTIFF DAN
                                         RAINES

       Plaintiff Dan Raines (“Plaintiff”) is ordered to show cause in writing by September 23, 2021
why Plaintiff should not be sanctioned in the amount of $1,500.00 or why this case should proceed
as a Court Trial as a result of Plaintiff’s failure to file jury instruction required by the Court’s
Scheduling and Case Management Order filed on November 3, 2020, Dkt. No. 35. No oral
argument on this matter will be heard unless otherwise ordered by the Court. See Fed. R. Civ. P.
78; Local Rule 7-15. The Order to Show Cause will stand submitted upon the filing of the response
to the Order to Show Cause. Failure to respond to the Order to Show Cause will result in the
imposition of sanctions.




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